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              EXHIBIT A



                Complaint




              EXHIBIT A
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                                                                                   Electronically Filed
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  1     JAMES P. KEMP,ESQUIRE
        Nevada Bar No.006375
  2     KEMP & KEMP,ATTORNEYS AT LAW
  3     7435 W. Azure Drive, Suite 110,
        Las Vegas, NV 89130                                                CASE NO: A-24-907076-C
  4    (702)258-1183/(702) 258-6983 (fax)                                           Department 14
       jp@kemp-attorneys.com
  5     Attorney for Plaintiff MALCOLM SHEPHERD

  6                                        DISTRICT COURT
  7                                     CLARK COUNTY NEVADA
                                                         ***

  8
       MALCOLM SHEPHERD,                           )
  9                                 Plaintiff,     ) Case No.:
       vs.                                         )
 10                                                 ) Dept. No.:
                                                    )
 11    TESLA,INC.,(a.k.a. TESLA MOTORS,             )       COMPLAINT
       INC.)a Delaware Corporation; DOES I-X; )
 12    and, ROE Business Entities I-X,              )
                                                    )       JURY TRIAL DEMANDED
                                        Defendants. )
 13
                                                    ) Arbitration Exemption: Matter seeking
 14
                                                    ) equitable or extraordinary relief
                                                        )
 15
                                                        )
               COMES NOW THE PLAINTIFF, by and through her counsel, JAMES P. KEMP,ESQ.,of
 16

 17    KEMP & KEMP, ATTORNEYS AT LAW, and states and alleges causes of action against the'

 18    Defendant(s) as follows:

 19       I.      JURISDICTION AND VENUE
 20
               1. This is a civil action for damages brought by MALCOLM SHEPHERD against his
 21
                  former employer to redress discrimination, harassment, and retaliation under state and
 22
                  federal anti-discrimination statutes including Title VII of The Civil Rights Act of 1964,
 23

 24               The Civil Rights Act of 1866(42 U.S.C. § 1981) and NRS 613.330 et seq.

 25            2. The events complained of herein took place in Storey County, Nevada.

 26            3. Plaintiff timely filed a charge, incorporated herein by this reference, with the Equal
, 27
                  Employment Opportunity Commission (EEOC), Charge No. 550-2023-2446. The
 28

                                                          1

                                     Case Number: A-24-90707,6C
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  1          charge was initially filed through an intake questionnaire prior to October 25, 2023,and
  2          the formal Form 5 Charge was filed on October 25, 2023. The filing with EEOC and
  3
             exhaustion of administrative avenues through the EEOC is deemed to satisfy state
  4
             exhaustion requirements pursuant to NRS 233.160. Also, this was a dual filing with both
  5
             agencies. This dual filing was made pursuant to the law and the then-active Work
  6

  7          Sharing Agreement between EEOC and Nevada Equal Rights Commission(NERC).

  8       4. On September 4, 2024, the EEOC issued Plaintiff a "Right to Sue" notice in the

  9          aforementioned Charge. Plaintiffis timely filing this civil action within the requisite 90
 10
              days of his receipt of that Notice. ,
 11
          5. Plaintiff has fully complied with all prerequisites under Nevada state and federal statutes
 12
             to pursue these claims in this court.
 13
              CLAIMS FOR RELIEF
 14

 15                                 Factual Allegations Common to all Claims

 16       6. The Plaintiff is a black, African American, resident of Washoe County Nevada. From

 17           approximately June 2020 through approximately May 2,2023 Plaintiff was an employee
 18
              at one ofDefendant TESLA,INC.'s places ofbusiness,its Gigafactory Campus in Storey
 19
              County Nevada. Plaintiff started as a Production Associate and was promoted multiple
 20
              times until his final position held which was a Production Supervisor.
 21

 22       7. Defendant,TESLA,INC.,is a Delaware Corporation. Upon information and belief, it is

. 23          also known as TESLA MOTORS, INC. It has continuous and ongoing business

 24           operations in the state ofNevada and engages in an industry affecting commerce. It has
 25           well in excess of500 employees. Plaintiff is unaware of where TESLA,INC."resides"
 26

 27

 28

                                                      2
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 1           for purposes of venue and therefore sues TESLA, INC. in the county of his choice
 2           pursuant to NRS 13.040 and designates Clark County, Nevada as the place for trial.
 3
         8. Defendant can only operate by and through its employees whether those persons are
 4
             designated as owners, agents, managers, supervisors, or employees.
 5
         9. Plaintiff is unaware ofthe true names and capacities whether individuals, corporations,
 6

 7           associates, or otherwise of Defendants DOE INDIVIDUALS I through X and ROE

 8           BUSINESS ENTITIES I through X,inclusive, and therefore sues these Defendants by

 9           such fictitious names. Plaintiff is informed and believes and thereupon alleges that the
10
             Defendants, and each ofthem, are in some manner responsible and liable for the acts and
11
             damages alleged in this Complaint. Plaintiff will seek leave of this Court to amend this
12
             Complaint to allege the true names and capacities ofthe DOE INDIVIDUAL and ROE
13
             CORPORATION Defendants when the true names of the DOE INDIVIDUAL and ROE
14

15           CORPORATION Defendants are ascertained

16        10. Defendant TESLA,INC,is an employer under the definition of"employer" under NRS

17           Chapter 613 as well as under Title VII.
18
          1 1. Defendant TESLA, INC., upon information and belief, has, during the entirety of
19
             Plaintiff's employment with TESLA,INC. been a party to one or more contracts with the
20
             United States Department ofDefense,or constituent agencies or military branches within
21

22           the Department of defense and such contract(s) had economic value in excess of one

23           million dollars ($1,000,000.00),

24        12. The various violations of law which are alleged herein were committed intentionally
25           and/or willfully in violation of Plaintiff's legal rights by Defendant and with malice,
26
             fraud, or oppression.
27

28

                                                   3
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 1       13. This • is a civil action for damages under state and federal statutes prohibiting
 2           discrimination and retaliation and to redress deprivation of rights under these laws.
 3
          14. Plaintiff's statutory claims arise under Title VII of the Civil Rights Act of 1964, as
 4
             amended 42 U.S.C. § 2000e et seq.; the Civil Rights Act of 1991, and the Civil Rights
 5
             Act of 1866, 42 U.S.C. § 1981.
 6

 7        15. As Plaintiffs employers during the relevant time period, Defendants were engaged in

 8           operations and/or conducting business within the County of Clark, State of Nevada.

 9           Defendant Clark County was engaged in activities affecting commerce and employed at
10
             least 500 employees in the two calendar years preceding the events in question.
11
          16. As an employer in Nevada, and/or other states, Defendants are required to comply with
12
             all state and federal statutes which prohibit race and color discrimination, and retaliation.
13
          17. Plaintiff, Malcolm Shepherd, is a black African American male citizen of the State of
14

15           Nevada, who was employed by Defendant TESLA,INC.from June 2020 through May 2,

16           2023. At all times mentioned herein the Plaintiffperformed his work at or above a level

17           that the Defendants had a reasonable right to expect.
18
          18. Plaintiff has physical characteristics and skin color consistent with his race, ethnicity,
19
             and black African origin.
20
                                                   FACTS
21

22        19. Throughout his employment at TESLA,INC,Plaintiff was subjected to harassment and

23           discrimination by his superiors including, but not limited to, Robert Whittiker and

24           Maddison Dauch. These managers/supervisors also engaged in race based harassment
25           and discrimination against other African-American employees including Devonte
26
             Schults, Dememprius McGruder, Cue Maciel Perez, and Solomon Johnson.
27

28

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                      20. There are numerous examples of TESLA, INC. and its managers and employees
              2          engaging in discriminatory conduct,too many to chronicle here. However,Plaintiffwas
              3
                         literally told by HR Representative Mara Alonso that Plaintiff's male,African-American,
              4
                         physical features were intimidating and essentially scary to persons in the workplace.
              5
                         This is outrageous racial stere'otyping by Defendant and its responsible employees and
              6

              7          this racial stereotyping drove much of the discriminatory and harassing treatment that

              8          was directed at Plaintiff. It was unfounded. Plaintiff is not intimidating and has never

              9          acted in an intimidating manner toward anyone in the workplace at TESLA, INC.
             10
                         Maddison Dauch spread false and malicious statements against Plaintiff in TESLA,
             11
                         INC's workplace also based on racial stereotypes, discrimination, and harassment, and
             12
                         TSLA,INC ratified this conduct and did nothing to properly investigate or take prompt
             13
     0 co                remedial action of this harassment.
             14
z 5cnon
hi    <
             15       21. Plaintiff made numerous complaints about what he reasonably perceived as race
145 2N;
ILES
X pg: -0     16          harassment and discrimination by Whittiker and Dauch. For example, in April 2023

             17          Plaintiffcomplained about racially motivated harassment or discriminatory treatment by.
     TLr
       n U
             18
                         Whittiker to HR representative Mara Alonso. Between March and early April 2023
             19
                         Plaintiff discussed his concerns about race discrimination and harassment with HR
             20
                         Manager Michael Dunn. Plaintiff also raised concerns about discrimination and
             21
                         harassment. to Whittiker himself and Mara Alonso. Nothing was•done, no prompt
             22

             23          remedial action was taken, and Plaintiff's complaints of race discrimination- and

             24          harassment went unadfiressed by Defendant.
             25       22. Worse,Plaintiff's employment was terminated on May 2,2023, less than a month after
             26
                         his complaints about race discrimination and harassment were made to TESLA,INC.
             27

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              1           This termination was retaliation for Plaintiff's protected opposition to what he
              2           reasonably perceived to be race discrimination and harassment.
              3
                       23. The reason given by Defendant for Plaintiff's termination was false and pretextual. It
               4
                          was ginned up by Robert Whittiker and Mara Alonso as a means to retaliate against
               5
                          Plaintifffor his protected opposition to illegal discrimination and harassment based on
              6

               7          race. The reason given was false. Plaintiff was not guilty of the conduct that he was

               8          accused of and Defendant knew that he was not guilty of it or turned a blind eye to the

               9          truth in order to have a pretext to fire Plaintiff while covering up the retaliatory motive of
              10
                          the decision makers or those who strongly influenced the decisionmakers. Moreover,
              11
                          even ifPlaintiffhad been the one to engage in the behavior in question, which he denies,
              12
                          that behavior is not worthy of credence as a basis to terminate Plaintiff's employment
              13
    o
   :g2                     because non-African-American employees who actually admit to being guilty of such
              14
11.A;g
X 5("3 t.                  behavior were not terminated or disciplined for that behavior. As,one example,Dustyn
L'tggh        15
     w z-2    16           Lumley admitted to similar or worse behavior than that Plaintiff was falsely accused of,
X Vig:
  '7 0L  (g
              17           yet he was not terminated from his employment and the decisionmaker in not terminating
    ,
    r o
              18
                           Lumley's employment was the same supervisor who has discriminated against Plaintiff,
              19
                           Robert Whitiker. Whitiker has a long history of treating non-minority employees less
              20
                          favorably than he does Caucasian/non-Hispanic employees. This differential treatment
              21
                           not only establishes pretext, but • alternatively is another example of disparate
              22

              23           discriminatory treatment ofPlaintiff where he was treated less favorably in the terms and

              24           conditions of his employment than other employees not in his protected racial class.
              25       24. The discriminatory treatment ofPlaintiffby the Defendants was because ofor on account
              26
                           of, in whole or in part, the Plaintiff's race and/or color and/or retaliation for his
              27

              28

                                                                  6
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 1           opposition to discrimination or participation in proceedings related to alleged Title VII
 2           violations. The conduct that Plaintiff suffered was a continuing violation ofTitle VII of
 3
             the Civil Rights Act of 1964, NRS Chapter 613, and the Civil Rights Act of 1866, 42
 4
             U.S.C. § 1981.
 5
         25. The Plaintiff filed a formal Charge of Discrimination on the basis of Race, Sex, and
 6

 7           Retaliation October 25, 2023 in EEOC Charge No. 550-2023-02446 which is

 8           incorporated here by reference as if fully set forth herein.

 9       26. Defendant subjected Plaintiff to different, unequal and discriminatory treatment which
10
             included but was not limited to increased scrutiny ofPlaintiff's work, humiliating and
11
             condescending treatment, purposeful economic deprivation, derogatory comments,and
12
             undermining and subversion ofPlaintiff's attempts to remedy the discrimination. This
13
             'different, unequal and discriminatory treatment in his employment was on account ofand
14

15           directly connected with or related to Plaintiff's African Race, and/or Ethnicity.

16        27. Defendant subjected Plaintiff to different, unequal and discriminatory treatment which

17           included but was not limited to increased scrutiny ofPlaintiff's work, humiliating and
18
             condescending treatment, purposeful economic deprivation, derogatory comments,and
19
             undermining and subversion ofPlaintiff's attempts to remedy the discrimination. This
20
             different, unequal and discriminatory treatment in his employment was on account ofand
21
              directly connected with or related to Plaintiff's protected opposition to discrimination.
22

23        28. Defendant is required to comply with statutes prohibiting race discrimination and their

24           related anti-retaliation provisions for both protected opposition activity and protected
25           participation activity.
26

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 1        29. Plaintiff has exhausted all required administrative avenues. EEOC issued a Notice of
 2            Suit Rights on September 4,2024. This action was timely filed.
 3
       FIRST CLAIM: RACE DISCRIMINATION IN VIOLATION OF TITLE VII, CIVIL
 4
       RIGHTS ACT OF 1964 AND NRS CHAPTER 613.
 5
       An other Paragraphs of this Complaint are expressly incorporated here by reference as if fully
 6

 7     reasserted, alleged, and set forth herein.

 8     30. Plaintiff, at all times, has performed his job at or above a level that his employer had a

 9         reasonable right to expect.
10     31. Plaintiff was discriminated against by the Defendants in the terms, conditions, privileges,
11
           and benefits of his employment based upon his race.
12
       32. Plaintiff was retaliated against after he opposed and complained about the discriminatory
13
           treatment that he received.
14

15     33. Plaintiff suffered one or more adverse job consequences intentionally imposed by the

16        Defendants. These consequences were of the type that would tend to discourage similarly

17         situated employees from complaining about or opposing illegal discrimination.
18
       34. One or more of Plaintiff's co-workers who were not of Plaintiff's race and/or color were
19
           treated more favorably in the terms and conditions of their employment than Plaintiff was
20
           treated.
21
       35. Plaintiff's employment was terminated by Defendant on May 2,2023 when he was fired due
22

23         to discrimination based on race and in retaliation for Plaintiff having opposed and

24         complained about the discriminatory and illegal treatment.
25     36. The Plaintiff was subjected to Race Harassment in that the Defendants created a hostile work
26
           environment that adversely impacted the terms and conditions ofthe Plaintiffs employment
27

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 1        and made it more difficult for him to perform the duties ofhis job. The acts, omissions, and
 2         behavior of the Defendants was objectively and subjectively offensive and was severe or
 3
          pervasive in nature.
 4
       37. Defendant's discriminatory and retaliatory treatment ofthe Plaintiffin his employment was
 5
          in violation of Title VII of the Civil Rights Act of 1964 and NRS Chapter 613.
 6

 7     38. Plaintiff suffered injury to his reputation, embarrassment, humiliation, mental anguish and

 8        suffering, inconvenience, emotional distress, and other cognizable general damages as a

 9         direct and proximate result of Defendant's actions. The amount of these damages is a
10
           question of fact that may only be ascertained by the jury at trial.
11
       39. Plaintiff has suffered and will suffer lost wages and benefits of employment as a direct and
12
           proximate result of the actions ofthe Defendants.
13
       40. Plaintiff has been required to hire an attorney and expend fees and costs to pursue her rights
14

15         through this action.

16     41. The actions of the Defendants were willful, malicious, oppressive, and calculated to

17         discourage Plaintiff and other of Defendants' employees from pursuing their rights under
18
          Federal and Nevada law.
19
             SECOND CLAIM: RACE DISCRIMINATION AND HOSTILE WORK
20         ENVIRONMENT RACE HARASSMENT IN VIOLATION OF CIVIL RIGHTS
                             UNDER 42 U.S.C. 1981
21
       All other Paragraphs of this Complaint are expressly incorporated here by reference as if fully
22

23     reasserted, alleged, and set forth herein.

24     42. Defendants have violated the Civil Rights Act of 1866, as amended,through the actions of
25         their managers and officials in failing to provide equal contractual opportunities to black
26
           African-American employees, specifically including the Plaintiff
27

28

                                                     9
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 1     43. Defendants intentionally retaliated against the Plaintifffor his opposing their discriminatory
 2         and illegal conduct under the Act and for demanding equal treatment in his contractual
 3
           relations with the Defendant.

       44. Defendants created a hostile work environment based on Plaintiff's race which included acts
 5
           and deliberate omissions that were harmful to the Plaintiffand were engaged in such a severe
 6

 7         or pervasive way that the Plaintiff's terms and conditions of employment were adversely

 8         affected. The behavior of the Defendants was both objectively offensive and subjectively

 9         offensive.
10     45. Plaintiffhas been harmed by Defendant's actions, has suffered damages and is entitled to be
11
           fully compensated therefor.
12
       46. The actions of the Defendant were willful, malicious, oppressive, and calculated to
13
           discourage Plaintiff and other of Defendant's employees from pursuing their rights under
14

15         Federal law. The Individual Defendants should be subjected to Punitive and Exemplary

16         damages to deter future conduct of this sort.

17             THIRD CLAIM: RETALIATION IN VIOLATION OF 42 U.S.C. 1981
18
       All other Paragraphs of this Complaint are expressly incorporated here by reference as if fully
19
       reasserted, alleged, and set forth herein.
20
       47. Plaintiff was retaliated against after he opposed and complained about the racially
21
           discriminatory treatment that he received in Defendants' workplace.
22

23     48. Plaintiff suffered one or more adverse job consequences intentionally imposed by the

24         Defendants. These consequences were of the type that would tend to discourage similarly
25         situated employees from complaining about or opposing illegal discrimination.
26
       49. Plaintiff's employment was terminated by Defendants in August 2015 when he.was fired due
27

28

                                                     10
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 1        to discrimination based on race and retaliation for Plaintiff having opposed and complained
 2        about the discriminatory and illegal treatment.
 3
       50. The Plaintiff was further retaliated against by the Defendant willfully, embarrassingly, and
 4
          harassingly, refusing to promote or grant requested transfers to the Plaintiffbecause he had

           opposed the Defendants' policies, practices, and actions made illegal under 42 U.S.C. §1981.
 6

 7     51. Defendants' discriminatory and retaliatory treatment of the Plaintiffin his employment was

 8        in violation of42 U.S.C. §1981.

 9     52. Plaintiffsuffered harm to professional reputation, mental anguish,humiliation and emotional
10         distress as a direct and proximate result of Defendant's actions.
11
       53. The Plaintiff suffered damages including, but not limited to, lost wages, lost benefits of
12
           employment, emotional distress, mental anguish, humiliation, embarrassment, and other
13
           general damages in amounts to be proven at trial.
14

15     54. Plaintiff has been required to hire an attorney and expend fees and costs to pursue his rights

16         through this action.

17     55. The actions of the Defendant were willful, malicious, oppressive, and calculated to
18
           discourage Plaintiff and other of Defendant's employees from pursuing their rights under
19
           Federal and/or Nevada law. The Individual Defendants should be subjected to Punitive and
20
           Exemplary damages to deter future conduct of this sort.
21
           FOURTH CLAIM: RETALIATION IN VIOLATION OF TITLE VII OF THE
22
           CIVIL RIGHTS ACT OF 1964 AS AMENDED,42 U.S.C. 42000e
23
       56. All other Paragraphs of this Complaint are expressly incorporated here by reference as if
24
           fully reasserted, alleged, and set forth herein.
25

26     57. This claim is expressly pled in the alternative pursuant to NRCP Rule 8.

27

28

                                                     11
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           1     58. Plaintiff was fired in violation of both the opposition clause and the participation clause
           2         contained within Title VII of the Civil Rights Act of 1964.
           3
                 59. Plaintiff repeats and re-alleges each and every pertinent allegation contained in and every
           4
                     other pertinent paragraph contained in this Complaint, as if set forth fully herein.
           5
                 60. The aforementioned state and federal statutes prohibiting discrimination also separately
           6

           7         prohibits employers from retaliating against any individual engaging in protected activity

           8         which includes reporting, complaining about, or raising concerns, and opposing possible

           9         discrimination or acts which might constitute discrimination. It also prohibits retaliation for
          10
                     participating in the mechanisms of enforcement for Title VII.
          11
                 61. Defendants subjected Plaintiffto retaliation after, and as a result of, his engaging in protected
          12
                     activity which is more fully detailed above.
          13
      0
      -
      -          62. The actions and conduct by Defendants would deter Plaintiff and others from reporting,
          14
a.
1 5mon
w       . 15         complaining, opposing or otherwise engaging in protected conduct,thus constituting illegal
   tx
05 EN7,
ELEs
   r      16         retaliation under Title VII which has been held to apply any time employer reprisal conduct

          17         related to complaints or protected actions "well might have dissuaded a reasonable worker
   N
          18
                     from making or supporting a charge of discrirnination." Burlington Northern Co. v. White,
          19
                     548 U.S. 53(2006).
          20
                 63. Defendants failed to take reasonable actions to prevent retaliation against Plaintiff. To
          21
                     Plaintiff's knowledge and perception, after he complained and otherwise engaged in
          22

          23         protected activities, no preventive or remedial actions were taken to prevent retaliation.

          24     64. The aforementioned action and conduct of Defendants constitutes illegal retaliation, and/or
          25         retaliatory harassment, prohibited under state and federal law.
          26
                 65. As a direct and proximate cause ofDefendants wrongful conduct and illegal discrimination
          27

          28

                                                                12
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 1             in the form of retaliation, Plaintiff has been substantially harmed, economically and
 2             emotionally, and is, therefore, entitled to be fully compensated and receive all appropriate
 3
               equitable and legal remedies recognized under the law.
 4
        66. As a result of Defendants' acts described in this complaint, Plaintiff has been forced to
 5
               engage the services ofan attorney and expend costs to pursue and protect his rights under the
 6

 7             law.

 8   III.      DEMAND FOR JUDGMENT FOR RELIEF

 9
        WHEREFORE,the Plaintiff Prays Judgment against the Defendant and requests relief as
10
     follows:
11
            1. For actual and compensatory damages in an amount to be determined by a jury at trial;
12
        2. For general damages in an amount to be determined by a jury at trial;
13
        3. For Punitive and/or Exemplary damages from the Individual Defendants in an amount to
14
                be determined by a jury at trial;
15
        4. For Attorney's fees;
16
        5. For costs of suit;
17
        6. For pre-judgment interest;
18
        7. For a trial by jury of all issues that may be tried to a jury;
19
        8. For equitable and injunctive relief as set forth herein including reinstatement of
20
               employment or front pay in lieu of reinstatment;
21
        9. For all remedies available under Title VII of the Civil Rights Act of 1964, as amended;
22
            10. For all remedies available for liability under 42 U.S.C..§ 1981;
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                 1

                 2
                          11. For All remedies available under NRS 613.432;
                 3
                      ,   12. For such other and further relief as the court may deem just and equitable.
                 4
                             DATED November 29, 2024.
                 5

                 6                                                        /s/ James P. Kemp
                                                                   JAMES P. KEMP,ESQUIRE
                 7                                                 Nevada Bar No. 006375
                                                                   KEMP & KEMP
                 8                                                 7435 W. Azure Drive, Suite 110,
                                                                   Las Vegas, NV 89130
                 9                                                (702)258-1183/(702)258-6983 (fax)
                10                                                jp@kemp-attorneys.com
                                                                   Attorney for Plaintiff
                11

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